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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WESTERN NEW YORK
                                  BUFFALO DIVISION

EQUAL EMPLOYMENT OPPORTUNITY               )
COMMISSION,                                )
                                           )
                  Plaintiff,               ) CIVIL ACTION NO. 1:18-cv-00562
                                           )
            v.                             ) COMPLAINT
                                           )
STAFFING SOLUTIONS OF WNY, INC.            ) JURY TRIAL DEMAND
                                           )
                  Defendant.               )
__________________________________________ )



                                  NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 (“Title VII”); Titles I and

V of the Americans with Disabilities Act of 1990 (“ADA”); the Age Discrimination in

Employment Act (“ADEA”); and Title I of the Civil Rights Act of 1991, to correct a host of

unlawful employment practices on the basis of race, sex, disability, age, and retaliation, and to

provide appropriate relief to Charging Party Tammi Iser and aggrieved applicants and employees

who were adversely affected by such practices.

       As alleged with greater particularity below, Defendant, Staffing Solutions of WNY,

Inc.—a staffing agency that hires and places employees with clients in Western New York— has

violated and continues to violate Title VII by failing to hire Black applicants, or by failing to hire

Black applicants for positions it deems “White,” or by failing to hire Black applicants for certain

clients who express a preference for White applicants. Defendant also hires men or women only

for specific positions because of client requests or because Defendant determines those positions

should go to one sex or another. Defendant thereby segregates its applicants and employees by

sex and race.
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       Defendant also has violated and continues to violate Title VII by failing to hire applicants

and terminating employees who have interracial romantic or social relationships.

       Defendant also has violated and continues to violate Title VII by failing to hire pregnant

applicants and by terminating employees who become pregnant. Defendant has violated and

continues to violate the ADEA by failing to hire applicants age 50 or over.

       Defendant also has violated and continues to violate the ADA by failing to hire and

failing to accommodate applicants or former employees who are actually disabled or whom

Defendant regarded as disabled, including applicants who have been injured, have cancer, have

filed a workers’ compensation claim, and who test positive for prescribed medications.

Defendant further violates the ADA by subjecting applicants to medical inquiries (including

questions about injuries and illnesses) and storing medical information on application materials

and in non-medical employment and applicant files.

       Defendant has violated and continues to violate Title VII, ADEA, and ADA record-

keeping requirements by shredding or otherwise destroying application materials, often

immediately after an applicant is rejected for discriminatory reasons, and by destroying records

of rejected applicants after receiving Charging Party’s charge of discrimination.

       Finally, Defendant has violated and continues to violate Title VII, the ADEA, and the

ADA by engaging in retaliation, including by constructively discharging Charging Party for

opposing many of the practices described above, and by discharging other employees who

complain about discrimination.




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                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to: Section 706(f)(1) and (3) of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.§ 2000e-5(f)(1) and (3) (“Title

VII”); Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a; Section 7(b) of the Age

Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 626(b) (the “ADEA”),

which incorporates by reference Sections 16(c) and Section 17 of the Fair Labor Standards Act

of 1938 (the “FLSA”), as amended, 29 U.S.C. §§ 216(c) and 217; Section 107(a) of the

Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12117(a), which incorporates by

reference Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964.

       2.      The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the District of Western

New York.

                                            PARTIES

       3.      Plaintiff, the Equal Employment Opportunity Commission (the “Commission”), is

the agency of the United States of America charged with the administration, interpretation and

enforcement of Title VII, Title I of the ADA, and the ADEA. The Commission is expressly

authorized to bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-

5(f)(1); by Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3); and by Section 7(b) of

the ADEA, 29 U.S.C. § 626(b), as amended by Section 2 of Reorganization Plan No. 1 of 1978,

92 Stat. 3781, and by Public Law 98-532 (1984), 98 Stat. 2705.

       4.      At all relevant times, Defendant, Staffing Solutions of WNY, Inc., a New York

corporation, has continuously been doing business in the State of New York and the City of


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Buffalo, and has continuously had at least 20 employees, which is sufficient for coverage under

Title VII, the ADA and the ADEA.

       5.       At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under: Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§

2000e(b), (g) and (h); Sections 101(5) and 101(7) of the ADA, 42 U.S.C.§§ 12111(5) and (7);

and Sections 11(b), (g) and (h) of the ADEA, 29 U.S.C. §§ 630(b), (g) and (h).

      6.        At all relevant times, Defendant has been a covered entity under Section 101(2) of

the ADA, 42 U.S.C. § 12111(2).

                              ADMINISTRATIVE PROCEDURES

       7.       More than thirty days prior to the institution of this lawsuit, Tammi Iser filed a

charge with the Commission alleging violations of Title VII, the ADEA, and the ADA by

Defendant.

       8.       On November 7, 2017, the Commission issued to Defendant a Letter of

Determination finding reasonable cause to believe that Title VII, the ADEA, and the ADA were

violated with respect to Charging Party and other aggrieved individuals, and inviting Defendant

to join with the Commission in informal methods of conciliation to endeavor to eliminate the

unlawful employment practices and provide appropriate relief.

       9.       The Commission engaged in communications with Defendant to provide

Defendant the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

       10.      The Commission was unable to secure from Defendant a conciliation agreement

acceptable to the Commission.

       11.      On December 4, 2017, the Commission issued to Defendant a Notice of Failure of

Conciliation.


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       12.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                   STATEMENT OF CLAIMS

       13.     Kathleen Faulhaber started Defendant in 2010 and has owned Defendant and

served as its CEO since then.

       14.      Defendant hires and places employees at clients in various, primarily unskilled,

light industrial, clerical, and warehouse positions in Western New York.

       15.     Defendant pays the wages, workers’ compensation insurance costs, and

unemployment insurance contributions for everyone it hires, and represents to applicants whom

it hires that Defendant is their employer.

       16.     Defendant often hires and places applicants months after they apply.

       17.     Faulhaber and Defendant’s recruiters and other office staff (collectively

“recruiters”), screen and interview applicants at its Buffalo office.

       18.     Charging Party served as Defendant’s office manager from October 21, 2013

through September 16, 2015.

       19.     Defendant describes applicants whom it does not hire and determines never to

hire in the future as “closed,” and follows certain procedures to ensure that “closed” applicants

are not hired in the future, including the creation of red “closed” Microsoft Outlook records that

inform Defendant’s recruiters that applicants are not to be hired.

       20.     Defendant does not tell rejected and “closed” applicants that they have been

rejected and closed. Instead, Defendant generally tells such applicants, both initially and if they

subsequently follow up with Defendant, that there are no available placements but that

Defendant will contact them if a placement becomes available.




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                                      TITLE VII CLAIMS

                                             RACE

       21.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section

703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by failing to hire Black applicants at all or for

placements with certain clients and in particular positions. For example:

               a.      Faulhaber refers to Black applicants and/or Black people generally using

                       the word “nigger” and has characterized certain White people as “nigger

                       lovers.”

               b.      Faulhaber rejects and closes Blacks applicants and instructs recruiters to

                       do so even when recruiters deem Black applicants qualified and want to

                       hire them. On occasions, Faulhaber has explicitly stated that she is doing

                       so because the applicants are Black.

               c.      For example, on one occasion, Faulhaber instructed a recruiter not to hire

                       a candidate because he was a “big Black guy.” On another occasion

                       Faulhaber instructed a recruiter not to hire an applicant because he was a

                       “big Black nigger.”

               d.      And on another occasion, Faulhaber explicitly rejected an applicant

                       because he was Black and had dreadlocks.

               e.      Defendant conducts shorter interviews of some Black applicants because

                       they are going to be immediately rejected and closed.

               f.      Black applicants who are qualified and have work experience relevant to

                       the jobs Defendant posts or is hiring for are rejected and closed.

               g.       For example, Defendant rejected an applicant seeking office or customer


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         service work who had experience as a sales associate, a collections agent,

         a lottery agent, in bank and pharmacy customer service, and in check

         cashing. This applicant’s interview was short and Defendant told her there

         was nothing available for her, both at her interview and when she called

         regularly for months afterwards.

   h.    As another example, an applicant applied in response to Defendant’s

         online posting for nursing-home work. This applicant had worked in

         nursing homes previously, but was repeatedly told that Defendant did not

         have an available placement for her.

   i.    For those Black applicants who are hired, Defendant ensures that they are

         placed with certain clients and not others.

   j.    Defendant generally does not hire Black applicants for positions with

         clients in primarily White suburban areas, which often pay more than

         other placements. Instead, Black applicants are sent to placements in

         predominantly Black neighborhoods and/or that entail work deemed by

         Faulhaber to be “dirty” or “grungy.”

   k.    Defendant also follows the discriminatory requests of clients who have

         communicated their preference for White applicants.

   l.    For example, a manager at one client told Defendant that he didn’t want

         any applicants who were Black. Faulhaber instructed Defendant’s

         recruiters to give that manager what he wanted.

   m.    As another example, Faulhaber forbade a recruiter from hiring a Black

         applicant who was working with a client for an additional shift because

         Faulhaber contended the manager of that shift did not want Black workers.


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               n.      In order to facilitate these discriminatory hiring practices, Defendant often

                       reviews the documents applicants submit for supposed indicia of race such

                       as hair and eye color, or inspects driver’s license photographs to determine

                       race.

               o.      Defendant sometimes refers to Black applicants as “Bs” and White

                       applicants as “Ws.”

       22.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of

Section 703(a)(2) of Title VII, 42 U.S.C. § 2000e-2(a)(2), by segregating Black applicants and

employees. These unlawful practices include, but are not limited to, the allegations set forth in

paragraph 21, particularly paragraphs 21(i)-(o), above.

       23.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section

703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by failing to hire applicants because of their

association with individuals of another race. For example, Faulhaber calls White female

applicants who come to Defendant’s office with Black boyfriends “nigger lovers” and then

rejects and closes their applications.

       24.     Since at least December 6, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section 703

(a)(1) of Title VII, 42 U.S.C. §2000e-2(a)(1), by terminating employees because of their

association with individuals of another race, specifically by terminating the employment of

White employees for their associations with Black individuals. For example, when Faulhaber

learned that a White employee was dating a Black man, Faulhaber called that employee “a nigger

lover” and shortly thereafter terminated her employment and closed her application.


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                                                SEX

       25.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section

703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by engaging in sex-based hiring, including

failing to hire both male and female applicants depending on the client or position. Specifically,

Defendant determined that some placements or job types should solely or primarily go to

applicants of one sex or another.

               a.      For example, Defendant almost exclusively hired men for a client trucking

                       firm whose work involved loading and unloading. This trucking firm was

                       deemed a “male assignment” and men were almost exclusively assigned—

                       women had to be “manly” looking to merit placement there.

               b.      Female applicants are primarily hired for placements with particular

                       clients and for receptionist and clerical positions generally.

               c.      Defendant also complies with clients’ requests for male or female workers

                       only.

               d.      Defendant and some of its clients refer to females as “lights” and males as

                       “heavies.”

               e.      These clients repeatedly request a certain number of “heavies” and

                       “lights” for certain shifts and days, and Defendant agrees to, and provides,

                       the requested number of male and female workers.

       26.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section 703

(a)(2) of Title VII, 42 U.S.C. § 2000e-2(a)(2), by segregating male and female applicants and

employees. These unlawful practices include, but are not limited to, the allegations set forth in


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paragraph 25 above.

                                          SEX/PREGNANCY

       27.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Sections 701(k)

and 703(a)(1) of Title VII, 42 U.S.C. §§ 2000e(k) and 2000e-2(a)(1), by failing to hire pregnant

applicants. For example:

               a.      Defendant rejects and closes applicants who are visibly pregnant or

                       disclose their pregnancy, particularly applicants who are further along in

                       their pregnancy.

               b.      During Charging Party’s employment, Defendant sometimes rejected and

                       closed two-to-three applicants per month because they were pregnant.

               c.      Defendant regularly asks pregnant applicants how much longer before

                       they give birth.

               d.      Faulhaber also has expressed concerns about costs and liabilities

                       associated with pregnant employees.

       28.     Since at least December 6, 2014, Defendant has engaged in unlawful

employment practices at its Buffalo office and throughout Western New York, in violation of

Sections 701(k) and 703(a)(1) of Title VII, 42 U.S.C. §§ 2000e(k) and 2000e-2(a)(1), by

terminating the employment of pregnant employees. For example, after Faulhaber learned that

an employee Defendant had placed with a client was pregnant, Faulhaber called the employee,

told her the assignment with the client had ended for misconduct that the employee had not in

fact committed, and reprimanded her for not disclosing her pregnancy. Defendant never hired

this employee again.




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        29.     The effect of the practices complained of in paragraphs 21-24 above has been to

deprive applicants and employees of equal employment opportunities and otherwise adversely

affect their status as employees and applicants for employment because of their race.

        30.     The effect of the practices complained of in paragraphs 25-26 above has been to

deprive female and male employees and applicants for employment of equal employment

opportunities and otherwise adversely affect their status as employees and applicants for

employment because of their sex.

        31.     The effect of the practices complained of in paragraphs 27-28 above has been to

deprive pregnant employees and applicants for employment of equal employment opportunities

and otherwise adversely affect their status as employees and applicants for employment because

of their sex.

        32.     The unlawful employment practices complained of in paragraphs 21-28 above

were and are intentional.

        33.     The unlawful employment practices complained of in paragraphs 21-28 above

were and are done with malice or with reckless indifference to the federally protected rights of

Black, female (including pregnant), and male employees and applicants; and those employees

and applicants who associate with individuals of a different race.

                                        ADEA CLAIMS

        34.     Since at least January 1, 2013, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section 4(a)(1)

of the ADEA, 29 U.S.C. § 623(a)(1), by failing to hire applicants age 50 or over. For example:

                a.     Faulhaber regularly instructs Defendant’s recruiters to reject and close

                       older applicants, particularly applicants age 50 or over, even when

                       recruiters deem the applicants qualified and want to hire them.


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    b.    Faulhaber herself regularly rejects and closes applicants age 50 or over

          herself, and has stated things like she was rejecting this “old man” or has

          otherwise indicated that she was rejecting and closing an applicant

          because of age.

    c.    Defendant solicits and otherwise attempts to ascertain applicants’ dates of

          birth, including by asking for dates of birth on an emergency contact form

          given to applicants, and records applicants’ dates of birth provided during

          interviews.

    d.    Defendant fails to hire and closes numerous applicants over the age of 50

          who are qualified and have work experience relevant to the jobs

          Defendant posts or for which Defendant is otherwise hiring.

    e.    For example, Defendant rejected an applicant born in 1960 who had

          experience in bookkeeping, light industrial work, and general labor.

          Defendant created a closed Outlook file for this applicant, ensuring that he

          would never be hired. This applicant called Defendant repeatedly but was

          told there was nothing available.

    f.    As another example, Defendant did not hire an applicant born in 1962 who

          had experience in clerical, computer, and office work, and who applied in

          response to Defendant’s advertisement for clerical work. Defendant

          created a closed Outlook file for this applicant, ensuring that she would

          never be hired.

    g.    As another example, Defendant rejected an applicant born in 1945 who

          had extensive experience in welding, material handling, shop work, and

          bridge and rail construction. Defendant created a closed Outlook file for


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                       this applicant, ensuring that he would never be hired. This applicant

                       called Defendant multiple times seeking work, but Defendant always told

                       him that there was nothing available.

       35.     The effect of the practices complained of in paragraph 34 above has been to

deprive applicants age 50 or older of equal employment opportunities and otherwise adversely

affect their status as applicants for employment because of their age.

       36.     The unlawful employment practices complained of in paragraph 34 above were

and are willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                         ADA CLAIMS

       37.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Sections 102(a)

and (b) of Title I of the ADA, 42 U.S.C. §§ 12112 (a) and (b), by failing to hire qualified

individuals with a disability. Numerous applicants whom Defendant fails to hire are qualified

individuals with a disability under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and

12111(8). Defendant regards these applicants as having a disability by failing to hire them

because of actual or perceived impairments, and/or these applicants have actual impairments that

substantially limit major life activities but could perform the essential functions of the jobs with

Defendant’s clients with reasonable accommodation:

                   a. In many instances, Defendant learns of actual or perceived impairments

                       because it asks applicants—well before an offer of employment is made—

                       probing questions about current or past impairments, injuries, physical or

                       medical conditions, and workers’ compensation claims. The standard

                       form Defendant’s recruiters use to interview applicants contains the

                       question: “Do you have any previous injuries or work related accidents?”

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    b.      Defendant generally does not hire, and closes, applicants who reveal an

            impairment, a medical or physical condition, an injury, or a workers’

            compensation claim during the application process.

    c.      Defendant rejects and closes these applicants without making any

            determination as to whether they can perform, with or without reasonable

            accommodation, the essential functions of the jobs for which Defendant is

            or will be hiring.

    d.      For example, in response to Defendant’s questioning, an applicant

            disclosed her throat cancer, said that the cancer began six years before, but

            told Defendant that she was not receiving treatment, did not need any

            accommodation, and could perform any job. Defendant noted her throat

            cancer and its duration on Defendant’s interview form. Defendant refused

            to hire and closed this applicant, but told her only that no position was

            available. Defendant told her the same thing when she repeatedly followed

            up seeking work.

         e. As another example, a blind applicant applied in 2015 with the assistance

            of a sighted person who accompanied him. Defendant immediately closed

            his application and shredded his application materials after he left the

            office. Defendant made no effort to determine whether the assistance of

            this sighted person or a sighted coworker, or any other accommodation,

            would allow this applicant to perform the essential functions of

            placements with Respondent’s clients.

    f.      As another example, in response to Defendant’s questioning, an applicant

            revealed a previously broken tibia and fibia that required bi-monthly


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          medical appointments. Defendant noted this applicant’s injury and

          required medical appointments on his interview form. The applicant was

          not hired and was closed. Defendant made no effort to determine whether

          there were placements where this applicant’s work schedule would allow

          him to attend his medical appointments.

    g.    As another example, Defendant rejected an applicant and created a closed

          Outlook file for the applicant noting that he had a back impairment and

          couldn’t stand for an entire shift. Defendant made no effort to determine

          whether there were placements where this applicant’s standing limitation

          could be accommodated.

    h.    Defendant also often closes and refuses to hire applicants whom it initially

          hired and placed; who then suffer or reveal an impairment, a medical or

          physical condition, an injury, or a workers’ compensation claim; and who

          then seek to be hired for another placement.

    i.    For example, Defendant hired an applicant who, after he started his job,

          revealed to Defendant that he had an enlarged heart but needed only two

          days off and could then work without restriction. Defendant closed and

          refused to hire this applicant for another placement, even when he

          reapplied more than a year later.

    j.    Many of these rejected applicants have extensive relevant experience. For

          example, the applicant rejected for throat cancer had experience in

          customer service and housekeeping; and the applicant rejected because of

          his previously broken tibia and fibia had experience performing carpentry

          work and general labor.


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               k.      Until early 2015, Defendant regularly conducted drug tests of all

                       applicants as soon as they walked into Defendant’s office or while they

                       were being interviewed. And since early 2015, Defendant continues to

                       conduct drug tests for applicants it may place with certain clients.

               l.      Defendant rejects and closes nearly all applicants who test positive for any

                       substance, even when the applicant indicates the substance is prescribed or

                       produces a prescription.

               m.      For example, Defendant did not hire one applicant even though he

                       explained that his positive test for amphetamines was caused by his

                       prescribed Adderall, which had been prescribed for his anxiety and/or

                       bipolar disorder.

       38.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Sections 102(a)

and (b)(5)(A) and (B) of Title I of the ADA, 42 U.S.C.§§ 12112(a) and (b)(5)(A) and (B), by

failing to provide reasonable accommodations to the disabilities of applicants and/or failing to

hire applicants because of the need to make reasonable accommodations to their impairments.

As described in paragraphs 37 above, numerous applicants whom Defendant fails to hire are

qualified individuals with a disability under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§

12102 and 12111(8), because these applicants have impairments that substantially limit major

life activities. For example:

                    a. As described in paragraph 37 above, numerous applicants reveal

                       impairments that substantially limit a major life activity and a need for

                       accommodation.




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                   b. As described in paragraph 37 above, particularly subparagraphs (c) and

                       (e)-(h), Defendant makes no effort to accommodate these applicants,

                       either by talking with its clients to see if accommodations can be provided,

                       or in any other way. Instead, Defendant fails to provide the reasonable

                       accommodation requested or any other accommodation, and fails to hire

                       and closes these applicants.

       39.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section

102(b)(6) of Title I of the ADA, 42 U.S.C.§§ 12112 (b)(6), by using a qualification standard that

screens out or to tends to screen out a class of individuals with a disability. These unlawful

practices include, but are not limited to, Defendant’s practice of rejecting applicants who test

positive for any substance for which Defendant tests even where the positive test is the result of

prescribed medication, as described in paragraph 37, particularly paragraphs 37 (k)-(m), above.

       40.     Since at least December 6, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section 102(d)

of Title I of the ADA, 42 U.S.C.§§ 12112(d) by making pre-offer medical and disability-related

inquiries to applicants. These unlawful practices include, but are not limited to:

                   a. As described in paragraph 37 above, particularly paragraphs

                       subparagraphs (a)-(d) and (f)-(g), before an offer of employment has been

                       made, Defendant solicits extensive information that is likely to reveal

                       information about disabilities, including asking applicants probing

                       questions about current or past impairments, injuries, physical or medical

                       conditions, and workers’ compensation claims.




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                   b. As discussed in in paragraph 37 above, particularly subparagraphs (a)-(d)

                       and (f)-(g), Defendant rejects applicants based on their responses to these

                       inquiries.

       41.     Since at least January 1, 2014, Defendant has engaged in unlawful employment

practices at its Buffalo office and throughout Western New York, in violation of Section 102(d)

of Title I of the ADA, 42 U.S.C.§ 12112(d), by failing to keep medical and disability-related

information in separate files and on separate forms. Defendant routinely places doctor’s notes,

workers’ compensation records, and other disability-related documents and information in

employees’ personnel files, in applicant folders, and/or on applicants’ interview and other

application forms, including as described in paragraphs in paragraph 37, particularly paragraphs

37(d) and (f)-(g), above.

       42.     The effect of the practices complained of in paragraphs 37-41 above has been to

deprive applicants for employment, employees, and former employees of equal employment

opportunities and otherwise adversely affect their status as applicants for employment,

employees, and former employees because of disability, medical and disability-related inquiries,

and/or Defendant’s failure to keep medical and disability-related information in separate files

and on separate forms.

       43.     The unlawful employment practices complained of in paragraphs 37-41 above

were and are intentional.

       44.     The unlawful employment practices complained of in paragraphs 37-41 above

were and are done with malice or with reckless indifference to the federally protected rights of

Defendant’s applicants, employees, and former employees.




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                            TITLE VII, ADA, AND ADEA CLAIMS

                                             RETALIATION

       45.      Since at least December 6, 2014, Defendant has engaged in unlawful

discriminatory practices at its Buffalo office and throughout Western New York, in violation of

Section 4(d) of the ADEA, 29 U.S.C. § 623(d); Section 503(a) of the ADA, 42 U.S.C. §

12203(a); and Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a), by constructively discharging

Charging Party’s employment in retaliation for her opposition to the unlawful practices described

above, and also by discharging other employees who complain about discrimination. These

retaliatory unlawful practices include, but are not limited to:

               a.      Charging Party repeatedly told Faulhaber that Defendant could not reject

                       and close an applicant, or terminate an employee, on the basis of race, sex,

                       age, or disability.

               b.      For example, Charging Party responded to Faulhaber’s instructions not to

                       send Black candidates to a specific client by saying that Defendant should

                       send the best qualified candidates.

               c.      As another example, Charging Party told Faulhaber that Faulhaber was

                       wrong to say Defendant should not hire a candidate because he was Black.

               d.      Charging Party also objected to Faulhaber’s discriminatory hiring and

                       discriminatory hiring instructions by telling Faulhaber that her instructions

                       and Defendant’s practices were illegal, and that Charging Party didn’t

                       want to work for a company that discriminated.

               e.      Charging Party repeatedly told Faulhaber that her destruction of personnel

                       files and application materials was illegal, and that these documents had to

                       be preserved.


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    f.    Charging Party made similar complaints about discriminatory hiring to

          Faulhaber’s father, who is a part-owner of Defendant.

    g.    When Charging Party disagreed with Faulhaber about a discriminatory

          hiring decision or voiced her objections to Defendant’s discriminatory

          practices, Faulhaber told her to “shut up” and/or told her that if Charging

          Party didn’t want to do her job, Faulhaber would find someone else who

          would.

    h.    Faulhaber also repeatedly emphasized that she was Defendant’s owner and

          therefore Charging Party would have to abide by Faulhaber’s rules or be

          fired.

    i.    Faulhaber responded to Charging Party’s expressed reluctance to reject

          and close an applicant for discriminatory reasons by saying that Charging

          Party had to reject and close the applicant because Faulhaber said so.

    j.    Charging Party observed that Faulhaber’s discrimination and

          discriminatory directives worsened over time. As a result, Charging

          Party’s expressions of opposition to discrimination, and Faulhaber’s

          termination threats in response, grew more frequent. By the end of

          Charging Party’s employment these exchanges were happening at least

          once a week.

    k.    Shortly before the end of Charging Party’s employment, she and

          Faulhaber had a particularly pointed confrontation about Faulhaber’s

          treatment of Black applicants. A Black applicant drove up to Defendant’s

          office playing loud music from his car stereo. Faulhaber loudly stated that

          that was why “they” were called “niggers”, because that was how “they”


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                       act. Charging Party told Faulhaber that she should not use that racist

                       language or treat people that way, and that Black applicants in the waiting

                       area could hear her. Faulhaber responded that it was Faulhaber’s office

                       and she would do what she wanted. Faulhaber then repeatedly used the

                       word “nigger” in confronting the Black applicant who had been playing

                       the music, including by using the term “nigger music.”

               l.      On September 16, 2015, Charging Party, faced with the prospect of being

                       forced to participate in discrimination prohibited by Title VII, the ADEA,

                       and the ADA, or being terminated if she refused to comply, was

                       compelled to leave her employment with Defendant and was thereby

                       constructively discharged.

               m.      Defendant also terminates and fails to rehire other employees who oppose

                       discrimination at placements. For example, Faulhaber terminated and

                       closed two Black employees soon after she found out they had complained

                       that they had been harassed and subjected to other discrimination at a

                       placement because they were Black.

               n.      Faulhaber informed one of those employees that he was being terminated

                       because he had been absent for one day without notice, but the employee

                       had been told that he was not to work that day.

       46.     The effect of the practices complained of in paragraph 45 above has been to

deprive Charging Party and other employees of equal employment opportunities and otherwise

adversely affect their status as employees because of their protected activity

       47.     The unlawful employment practices complained of in paragraph 45 above were

and are intentional.


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       48.     The unlawful employment practices complained of in paragraph 45 above were

are done with malice or with reckless indifference to the federally protected rights of Charging

Party and other employees.

       49.     The unlawful employment practices complained of in paragraph 45 above were

and are willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                       RECORDKEEPING

       50.     Since at least January 1, 2013, Defendant has failed, in violation of Section 709(c)

of Title VII, 42 U.S.C. § 2000e-8(c), and in violation of Section 107(a) of the ADA, 42 U.S.C. §

12117(a), which incorporates by reference Section 709(c) of Title VII, 42 U.S.C. § 2000e-8(c),

to make and preserve records relevant to the determination of whether unlawful employment

practices have been or are being committed. For example:

               a.      Defendant discards or destroys application materials for applicants

                       Defendant fails to hire and closes—often immediately after the applicant

                       applies and is rejected, and sometimes in larger purges that result in the

                       destruction of the application materials well before a year has elapsed

                       since Defendant received or created them.

               b.      Defendant also destroys the application materials and employment records

                       for employees whom it hires but then terminates and closes.

               c.      Defendant has deleted relevant records, including closed Outlook files,

                       after being served with Charging Party’s charge of discrimination.

       51.     Since at least January 1, 2013, Defendant has violated Section 7(a) of the ADEA,

29 U.S.C. § 626(a), by failing to make and preserve records required by the Commission

necessary to the Commission’s administration of the ADEA. These unlawful practices include,

but are not limited to, the allegations set forth in paragraph 50 above.


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                                        PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with it, from

discriminating against applicants, employees, or former employees on the basis of race, sex

(including pregnancy), age, or disability and from engaging in any employment practice that

discriminates on those bases.

       B.      Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with it, from retaliating

against applicants, employees, or former employees who engage in protected activity, and from

engaging in any employment practice that retaliates.

       C.      Order Defendant to institute and carry out policies, practices, and programs that

provide equal employment opportunities for all applicants, employees, and former employees,

and that eradicate the effects of Defendant’s past and present unlawful employment practices.

       D.      Order Defendant to make and preserve all records: (1) relevant to the

determination of whether unlawful employment practices have been or are being committed, in

accordance with Section 709(c) of Title VII, 42 U.S.C. § 2000e-8(c), and in accordance with

Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Section

709(c) of Title VII, 42 U.S.C. § 2000e-8(c); and (2) required by the Commission pursuant to

Section 7(a) of the ADEA, 29 U.S.C. § 626(a).

       E.      Order Defendant not to make pre-offer medical or disability-related inquiries.

       F.      Order Defendant to keep medical and disability-related information and

documents separate, and not to commingle such information and documents with other

documents and information in personnel and applicant files.


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       G.       Order Defendant to make whole Charging Party and the aggrieved individuals

described in paragraphs 21-28, 37-41, and 45, including but not limited to: (1) Black applicants

and employees; (2) female applicants and employees (including pregnant applicants and

employees); (3) male applicants and employees; (4) applicants and employees who associate

with individuals of another race; (5) employees who oppose discrimination; (6) applicants

(including former employees) with a disability; (7) applicants who are not hired because they test

positive for prescribed substances; (8) applicants subject to pre-offer medical or disability-related

inquiries; and (9) applicants and employees whose medical and disability-related records and

information are mixed in with personnel and applicant files, by providing appropriate relief

including backpay with prejudgment interest, in amounts to be determined at trial, and other

affirmative relief necessary to eradicate the effects of its unlawful employment practices,

including but not limited to instatement, reinstatement, or frontpay in lieu thereof.

       H.        Order Defendant to make whole Charging Party and the aggrieved individuals

described in paragraphs 21-28, 37-41, and 45 above by providing compensation for past and

future pecuniary losses resulting from the unlawful employment practices described in

paragraphs 21-33 and 37-49 above, including but not limited to, job search expenses and medical

expenses, in amounts to be determined at trial.

       I.        Order Defendant to make whole Charging Party and the aggrieved individuals

described in paragraphs 21-28, 37-41, and 45 above by providing compensation for past and

future nonpecuniary losses resulting from the unlawful employment practices described in

paragraphs 21-33 and 37-49 above, including but not limited to, emotional pain, suffering,

humiliation, and inconvenience, in amounts to be determined at trial.




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        J.       Order Defendant to pay Charging Party and the aggrieved individuals described in

paragraphs 21-28, 37-41, and 45 above punitive damages for its malicious and reckless conduct,

as described in paragraphs 21-33 and 37-49 above, in amounts to be determined at trial.

        K.       Grant a judgment requiring Defendant to pay appropriate back wages in an

amount to be determined at trial, an equal sum as liquidated damages, and prejudgment interest

to individuals whose wages are being unlawfully withheld as a result of the age-based

discriminatory hiring or the retaliatory constructive discharge complained of above, including

but not limited to Charging Party, the individuals described in paragraphs 34 and 45 above, and

all individuals age 50 or over whom Defendant fails to hire because of age.

        L.       Order Defendant to make whole Charging Party and all individuals adversely

affected by the unlawful practices described in paragraphs 34-36 and 45-49 above, by providing

the affirmative relief necessary to eradicate the effects of its unlawful practices, including but not

limited to instatement, reinstatement, or frontpay in lieu thereof.

        M.       Grant such further relief as the Court deems necessary and proper in the public

interest.

        N.       Award the Commission its costs of this action.


                                     JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.

Dated: May 17, 2018

                                                       JAMES L. LEE
                                                       Deputy General Counsel

                                                       GWENDOLYN YOUNG REAMS
                                                       Associate General Counsel

                                                       U.S. EQUAL EMPLOYMENT
                                                       OPPORTUNITY COMMISSION
                                                       131 M Street, N.E.
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                                   Washington D.C. 20507


                                   JEFFREY BURSTEIN
                                   Regional Attorney
                                   jeffrey.burstein@eeoc.gov

                                   NORA E. CURTIN
                                   Supervisory Trial Attorney
                                   nora.curtin@eeoc.gov

                                    /s/ Daniel Seltzer
                                   Daniel Seltzer
                                   Trial Attorney
                                   Equal Employment Opportunity
                                   Commission
                                   New York District Office
                                   33 Whitehall Street, 5th Floor
                                   New York, NY 10004
                                   Tel: 212-336-3701
                                   Fax: 212-336-3623
                                   Email: daniel.seltzer@eeoc.gov




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